39 F.3d 1178
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Neil RONEY, Plaintiff Appellant,v.Joseph HARPER, Jr., Sheriff;  Scottie Shropshire, Deputy;James Jones, Deputy, Defendants Appellees.
    No. 94-6133.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 11, 1994.Decided Nov. 1, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Robert G. Doumar, District Judge.  (CA-92-1018).
      Neil Roney, appellant pro se.
      Conrad Moss Shumadine, Mark Douglas Stiles, WILLCOX &amp; SAVAGE, Norfolk, VA, for appellees.
      E.D.Va.
      AFFIRMED.
      Before HALL and NIEMEYER, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Roney v. Harper, No. CA-92-1018 (E.D. Va.  Jan. 4, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    